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7 General Counsel for Michael A. McConnell,
  Chapter 11 Trustee
8

9                              UNITED STATES BANKRUPTCY COURT

10                             CENTRAL DISTRICT OF CALIFORNIA

11                                       NORTHERN DIVISION

12                                                    Case No.: 9:19-bk-11573-MB

13                                                     Chapter 11

14                                                    NOTICE TO PROFESSIONALS OF
                                                      SCHEDULED HEARING DATE FOR
15                                                    INTERIM FEE APPLICATIONS

16                                                     Date: January 30, 2020
                                                       Time: 10:30 a.m.
17                                                     Place: Courtroom 201
                                                              1415 State Street
18                                                            Santa Barbara, California

19

20 TO ALL PROFESSIONALS EMPLOYED PURSUANT TO COURT ORDER IN THE

21   ABOVE-CAPTIONED BANKRUPTCY CASE:
22           PLEASE TAKE NOTICE that the Court will hear interim applications for awards of

23 compensation and reimbursement of expenses by professionals in this case on January 30, 2020, at

24 10:30 a.m., in Courtroom "201" of the United States Bankruptcy Court, Northern Division, 1415

25 State Street, Santa Barbara, CA 93101.

26           In compliance with Local Bankruptcy Rule 2016-1, the Trustee hereby notifies all

27 professionals as follows:

28           Other professional persons retained pursuant to court approval may also seek approval of
     1569636.1 26932                                  1
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1 interim fees at this hearing, provided that they file and serve their applications in a timely manner.
                                                                                                         d
2 Unless otherwise ordered by the court, hearings on interim fee applications will not be schedule

3 less than 120 days apart.

4               Any professional seeking interim fees at this time must comply with the Federal Rules of
                                                                                           the
5 Bankruptcy Procedure, the Local Bankruptcy Rules for the Central District of California,
                                                                                            Bankrupt         cy
6 Guidelines of the Office of the United States Trustee, and the relevant provisions of the

7 Code.

8               PLEASE TAKE FURTHER NOTICE that any professional who desires to be included in
                                                                                                         6,
9 the Notice of Hearing in connection with fee applications must, not later than noon on January
                                                                                  ofthe Stars,
10 2020, advise Shelly Panta at banning, Gill, Israel &Krasnoff, LLP, 1901 Avenue
                                                                                                    of the
11      Suite 450, Los Angeles, California 90067-6006,(310)277-0077,spanta@danninggill.com,
                                                                                   such
12 amounts of requested compensation and expenses and the relevant time period for

13 ' compensation and expenses.

14 'i

15 DATED: December,2019                            DAMNING, GILL,ISRAEL & K                 SNOFF,LLP
                                                                          ~,           I~
16

17                                                 By:          I   '~~        ~'-'~

18 I                                                     ERIC P. ISRAEIs
                                                         Attorneys for Michael A. McConnell,
19                                                       Chapter 11 Trustee
20

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         1569636.1 26932                                  2
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                                     PROOF OF SERVICE OF DOCUMENT
 am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is 1901
Avenue of the Stars, Suite 450, Los Angeles, CA 90067-6006.

A true and correct copy of the foregoing document entitled (specify): NOTICE TO PROFESSIONALS OF SCHEDULED
HEARING DATE FOR INTERIM FEE APPLICATIONS will be served or was served (a) on the judge in chambers in the form
and manner required by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General Orders
and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On December 11,
2019 , I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the following
persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:



                                                                                       D Service information continued on attached page.

                                                                                                                           the last
2. SERVED BY UNITED STATES MAIL: On December 11. 2019, I served the following persons and/or entities at
                                                                        by placing a true  and correct  copy  thereof in a  sealed
known addresses in this bankruptcy case or adversary proceeding
                                           class, postage prepaid, and  addressed  as follows. Listing the judge here  constitutes
envelope in the United States mail, first
a declaration that mailing to the judge will be completed no later than 24 hours after the document is filed.

Debtor                                           Debtor
HVI Cat Canyon, Inc.                             HVI Cat CANYON, INC.
c/o Capitol Corporate Services, Inc.             630 Fifth Avenue, Suite 2410
36 S. 18th Avenue, Suite D                       New York, NY 10111
Brighton, CO 80601


                                                                                       D Service information continued on attached page.

                                                                                                                         method for
3. SERVED BY PERSONAL DELIVERY. OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state
                                                                      controlling  LBR,   on  December     11, 2019,  I  served  the
each person or entity served): Pursuant to F.R.Civ.P. 5 and/or
                                                delivery, overnight mail service, or (for those who  consented   in writing  to such
following persons and/or entities by personal
                                                                                                                   declaration that
service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a
personal delivery on, or overnight mail to, the judge will be completed no later than  24  hours after the document   is filed.

Served by Personal Delivery to be delivered by December~lJ 2019
The Honorable Martin R. Bash
U.S. Bankruptcy Court
21041 Burbank Boulevard, Bin on 1S' Floor outside entry to Intake Section
Woodland Hills, CA 91367
                                                                                        ❑ Service informatiq,n continued on attached page.

  declare under penalty of perjury under the laws of the United States that the fore~~ing is true~and correct.



  December 11, 2019                        Vivian Servin
  Date                                     Printed Name




                                                                                                                                 California.
          This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of

 tune 20 2                                                                                     F 9013-3.1.PROOF.SERVICE
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                                    ADDITIONAL SERVICE INFORMATION (if needed):


1. SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING ("NEF")


  •    William C Beall       will@beallandburkhardt.com, carissa@beallandburkhardt.com

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        m domer@diamondmccarthy.com;kmartinez@diamondmccarthy.com

                                                                                                                           of
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   •    Emily Young        pacerteam@gardencitygroup.com, rjacobs@ec£epigsystems.com;ECFInbox@epigsystems.com


2. SERVED BY UNITED STATES MAIL:

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Dore Rothberg &McKay
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Attn: Carl Dore, Jr.

Cole Schotz, P.C.
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Attn: Robert A. Hopen
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New York, NY 10017

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New York, NY 10016
Attn: Michael Moskowitz




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June 2012                                                                                     F 9013-3.1.PROOF.SERVICE
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Capello Global, LLP
10990 Wilshire Boulevard, Suite 1200
Los Angeles, CA 90024
Attn" Alexander L. Cappello and Louie Ucciferri




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